                                                                                               FILED IN CHAMBERS
            Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 PageU.S.D.C
                                                                  1 of 15ATLANTA

                                                                                           Oct 08 2021
                                                                                     Date: _________________________
                                       United States District Court
                                       NORTHERN DISTRICT OF GEORGIA                 KEVIN P. WEIMER , Clerk
                                                                                        /s/Sonya Lee Coggins
                                                                                    By: ____________________________
  UNITED STATES OF AMERICA                                                                    Deputy Clerk
  v.                                                                  CRIMINAL COMPLAINT
                                                                      Case Number: 1:21-MJ-0964
  OSCAR CAMBEROS CARRILLO


I, the undersigned complainant depose and state under penalty of perjury that the following is true and
correct to the best of my knowledge and belief. On or about October 7, 2021 in Clayton County, in the
Northern District of Georgia, defendant did knowingly and intentionally possess with intent to distribute
a controlled substance, said act involving at least 500 grams of a mixture and substance containing a
detectable amount of methamphetamine, a Schedule II controlled substance, pursuant to Title 21, United
States Code, Section 841(b)(1)(A), in violation of Title 21, United States Code, Section 841(a)(1).

I further state that I am a Task Force Officer of the Drug Enforcement Administration and that this
complaint is based on the following facts:
PLEASE SEE ATTACHED AFFIDAVIT


Continued on the attached sheet and made a part hereof.       Yes




                                                        Signature of Complainant
                                                       Ariana Jackson

Based upon this complaint, this Court finds that there is probable cause to believe that an offense has
been committed and that the defendant has committed it. Continued on the attached sheet and
made a part hereof. Sworn to me by telephone pursuant to Federal Rule of Criminal Procedure 4.1

 October 8, 2021                                         at    Atlanta, Georgia
 Date                                                          City and State



 LINDA T. WALKER

 UNITED STATES MAGISTRATE JUDGE
 Name and Title of Judicial Officer                            Signature of Judicial Officer
 AUSA Irina K. Dutcher / 2021R00877/                           Issued pursuant to Federal Rule of Criminal
 irina.dutcher@usdoj.gov                                       Procedure 4.1

              ATTEST: A TRUE COPY
                 CERTIFIED THIS

        Date: Oct 08 2021
              ________________________

        KEVIN P. WEIMER, Clerk

            /s/Sonya Lee Coggins
        By: ____________________________
                 Deputy Clerk
           Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 2 of 15




              AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, Ariana V. Jackson Task Force Officer with the Drug Enforcement

   Administration (“DEA”), depose and state under penalty of perjury as follows:

   1. I submit this affidavit in support of an application for a criminal complaint of

the following person:

            a. Oscar CAMBEROS Carrillo (hereinafter CAMBEROS); I assert that

                there is probable cause to believe that on or about October 7, 2021, in

                the Northern District of Georgia, CAMBEROS did knowingly and

                intentionally possess with the intent to distribute approximately ten

                kilograms of a mixture and substance containing a detectable

                amount of methamphetamine, a Schedule II controlled substance, in

                violation of Title 21, United States Code, Section 841(a) and

                841(b)(1)(A).

                                AFFIANT BACKGROUND

   2. I am an investigative or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510(7). I am therefore an officer of

the United States who is empowered to conduct investigations of, and to make

arrests for, the offenses enumerated in 18 U.S.C. § 2516 & 2510(7). Additionally, I am

a Task Force Officer with the DEA assigned to Task Force Group III (TFG3) since

October 2019. Additionally, I am a Deputy Sheriff with Fulton County Sheriff’s

Office (FCSO). Before transitioning to the DEA, I worked as a Criminal Investigator

within FCSO Criminal Investigation Unit (CIU). I received approximately 11 weeks
            Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 3 of 15




of training in drug investigations and related legal matters at various federal and

state law enforcement training facilities. Additionally, I am a certified Peace Officer

in the State of Georgia and have received more than 1200 hours of POST certified

training, including specialized training in drug investigations.

   3. In connection with my official DEA duties, I investigate criminal violations of

state and federal drug laws and related offenses, including, but not limited to,

violations of O.C.G.A. §§ 16-13-30, 16-13-31, Title 21, United States Code, §§ 841, 843,

846, 848, 856, 952, 960, and 963, and Title 18, United States Code, §§ 1952, 1956, and

1957.

   4. During my employment with DEA, I have been active in investigations

involving drugs trafficking and distribution and money laundering. I have received

training on the subject of drugs trafficking and have been personally involved in

investigations concerning the possession, manufacture, distribution, and

importation of controlled substances, as well as methods used to finance drug

transactions and launder drug proceeds. Further, I have consulted with several

senior agents who have participated in many wiretap investigations that resulted in

a number of arrests and seizures concerning drug trafficking and money

laundering. During the course of these investigations, it was apparent that drug

traffickers were using telephones in furtherance of their illegal activities. In

addition, I have also analyzed telephone toll records and other records and

debriefed informants regarding the use of telephones.


                                              2
           Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 4 of 15




   5. Based on my training and experience, discussions with senior agents, and

based upon interviews I have conducted with defendants, witnesses, and

informants, as well as others, with knowledge of the importation, distribution, and

transportation of controlled substances and of the laundering and concealing of

proceeds derived from drug trafficking, I am familiar with the ways in which drug

traffickers conduct their business, including the ways that drug traffickers maintain

records and documents relating to their drug trafficking and money laundering, and

the ways that they conceal, convert, transmit, and transport their drug proceeds,

including that:

            a. Drug traffickers often purchase or maintain residences, businesses,

                  real estate, and real property to disguise or launder their illegal

                  proceeds from drug trafficking. Records pertaining to the

                  ownership, control, and acquisition of these properties are usually

                  kept and maintained for an extended period of time to provide an

                  appearance of legitimacy. Drug traffickers often place their assets in

                  names other than their own – sometimes in the names of close

                  family members – to avoid detection of these assets by government

                  agencies. However, even though their assets are in other persons’

                  names, drug traffickers own and continue to use these assets and

                  exercise dominion and control over them.




                                               3
Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 5 of 15




 b. Drug traffickers often keep drugs and drug proceeds in outbuildings

    and structures apart from their primary residence to avert detection

    by law enforcement or other visitors.

 c. Drug traffickers often keep large amounts of currency immediately

    available in order to maintain and finance their ongoing drugs

    business.

 d. Drug traffickers often maintain copies of books, records, notes,

    ledgers, airline tickets, money orders, and other papers relative to

    the transportation, ordering, sale, and distribution of controlled

    substances.

 e. Drug traffickers occasionally “front” (provide on consignment)

    drugs to their clients. Books, records, receipts, notes, ledgers, etc.

    (some being coded and cryptic in nature), are maintained to keep

    track of these arrangements, and are often kept where the drug

    traffickers have ready access to them, but are concealed in secure

    locations within, or in near proximity to, their residences,

    businesses, and vehicles in a way to make discovery by law

    enforcement authorities difficult.

 f. Persons involved in drug trafficking often conceal in and near their

    residences, businesses, and vehicles caches of drugs, large amounts

    of currency, financial instruments, precious metals, jewelry, other


                                 4
           Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 6 of 15




                items of value and/or proceeds of drug transactions, and evidence

                of financial transactions related to obtaining, transferring, secreting,

                and/or spending of large sums of money made from engaging in

                drug trafficking activities.

            g. Drug traffickers commonly keep records of codes, as well as

                residential addresses, e-mail addresses, telephone numbers, and/or

                encrypted names of their associates in the trafficking organization.

            h. Drug traffickers often utilize cellular telephones, computers,

                answering machines, caller identification devices, electronic address

                books, etc., to facilitate communication with conspirators, store

                telephone numbers/addresses of associates, and store other records

                relating to their drugs trafficking and money laundering activities.

            i. Drug traffickers often possess firearms or other weapons to protect

                themselves and their stashes of drugs, money, or other valuables.

            j. Drug traffickers often keep keys to safety deposit boxes, storage

                units, vehicles, lock boxes, or other properties that are used to

                facilitate drugs trafficking activities.

   6. Also, based on my knowledge, training, experience, discussions with senior

agents, and participation in criminal investigations, I know that:

            a. Many cellular telephones currently have advanced capabilities,

                including: Internet browsing, text and e-mail, photography and


                                               5
Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 7 of 15




    video storage, Global Positioning System (“GPS”) navigation, notes,

    calendars, and data file storage.

 b. Drug traffickers frequently use cellular telephones and keep a list of

    names and numbers of customers and suppliers in their electronic

    address books of their cellular telephones. Such cellular telephones

    will also carry information in a SIM (Subscriber Identity Module)

    card or some other type of electronic storage card that will reveal the

    number of the cellular telephone and other information leading to

    the identity of the user.

 c. I am aware, through training, experience, and discussions with

    senior agents, that drug traffickers use cellular telephones to

    communicate with each other via voice, direct connect, text message,

    and e-mail; store valuable data such as names, addresses, and

    telephone numbers of co-conspirators; obtain and store directions

    and maps; maintain photographs of drug trafficking associates;

    search the Internet; and capture audio, image, and video files.

    Furthermore, I know that it is common for drug traffickers to

    possess and use multiple cellular telephones to facilitate their

    unlawful conduct. Indeed, it is my experience that drug distributors

    purposefully use multiple communication devices so as to not alert

    law enforcement to the complete scope of their own and/or their


                                6
            Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 8 of 15




                organization’s illicit conduct, in the event that their communications

                are being intercepted. By way of example only, a drug trafficker

                may have one cellular telephone used to call their drug source of

                supply, another telephone used to call customers, and yet another to

                call drug distributors, in addition to a telephone for personal use. In

                short, cellular telephones are vital instruments to drug traffickers.

                             SOURCES OF INFORMATION

   7. I make this affidavit based upon personal knowledge derived from my

participation in this investigation; information I have learned from discussions with

DEA Special Agents, Task Force Officers, Intelligence Analysts, or other law

enforcement officers; from recorded phone calls; surveillance, controlled purchases,

and discussions with DEA Confidential Sources (CS).

   8. Unless otherwise noted, wherever in this affidavit I assert that a statement

was made, the information was provided by another law enforcement officer (who

had either direct or hearsay knowledge of the statement) to whom I have spoken or

whose report I have read and reviewed. Such statements are stated in substance,

unless otherwise indicated. Wherever in this affidavit I state a belief, that belief is

based upon my knowledge, training, experience, discussions with senior agents,

and the information obtained through this investigation.

   9. The facts related in this affidavit do not reflect the totality of information

known to me or other agents and officers, and are merely the facts necessary to

                                              7
                Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 9 of 15




establish probable cause. I do not rely upon facts not set forth herein in reaching my

conclusion that a warrant should be issued, nor do I request that this Court rely

upon any facts not set forth herein in reviewing this affidavit in support of the

application for a warrant.

                                           PROBABLE CAUSE

   10. On or about September 13, 2021, DEA Chattanooga agents provided

information to DEA Atlanta agents regarding a traffic stop that was conducted the

same day by the Tennessee State Patrol during which approximately 10 kilograms

of methamphetamine were seized from the vehicle.

   11. The individual who was arrested (hereinafter “CS 1”) advised agents that the

10 kilograms were bought in Atlanta, GA from CAMBEROS.

   12. On or about September 22, 2021, TFO Jonathan Keeble and I met with the CS

in reference to his/her methamphetamine source of supply (SOS), CAMBEROS. The

CS stated that he/she met CAMBEROS approximately 7 months ago at the car shop

that CAMBEROS owns. The CS advised that CAMBEROS originally approached

him/her about buying kilogram quantities of methamphetamine while the CS was

smoking marijuana at the car shop.

       1   The CS has been working with DEA since September 2021 and is facing state charges originating
   from the felony drug trafficking offenses for which he/she was arrested in this investigation. The CS is
   working with DEA for consideration on these pending charges, although no promises have been made to
   the CS. The CS has a criminal history that contains felony drug charges dating back to 1999. The
   information the CS has provided has been independently corroborated by DEA agents, thus I believe
   his/her information is credible and reliable.

                                                        8
             Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 10 of 15




   13. The CS advised agents that he/she has made approximately 10-12 trips from

Kentucky to Atlanta, GA, to buy kilogram quantities from CAMBEROS and that

he/she originally met at CAMBEROS’ car shop, O&J Mechanic & Body Shop, to

conduct the deals (2-3 times) before they agreed to conduct the deals at

CAMBEROS’ house, 6392 Stoneridge Court, Riverdale, GA 30274.

   14. The CS advised agents that CAMBEROS sold each kilogram for $4,000.00 and

that each time the CS picked up from CAMBEROS, he/she would bring bulk cash

with him/her and pay in full.

   15. The CS advised agents that when he/she met CAMBEROS at the car shop to

conduct the deals, CAMBEROS came out of the shop from a side door and

concealed the drugs in a brown box. Additionally, the CS advised agents that

CAMBEROS behaved in the same manner when they conducted the deals at

CAMBEROS’ house and that CAMBEROS immediately took the money inside the

shop or his house when the deal was complete.

   16. The CS advised agents that he/she normally communicated with

CAMBEROS via text message and that they rarely spoke on the phone except when

CAMBEROS got a new telephone number. When CAMBEROS got a new telephone

number, he would call the CS to let him/her know and verify that the CS answered

the phone.

   17. The CS confirmed the address of CAMBEROS’ house and the car shop on a

map in addition to providing agents with the description of three vehicles that


                                           9
          Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 11 of 15




he/she has observed at CAMBEROS’ house when he/she met there to conduct the

deals. The vehicles and both the shop and house addresses were all independently

corroborated during multiple surveillance operations.

   18. The CS also advised agents that each time he/she met CAMBEROS at his

house, he came from the side of the house carrying a box which contained

individual Ziploc-type bags of methamphetamine. CAMBEROS immediately put

the box in the backseat of the car and then took the money from the CS.

   19. On September 13, 2021, before his/her arrest, the CS paid CAMBEROS

$40,000 cash in exchange for 10 kilograms of methamphetamine and picked them up

from CAMBEROS at his house.

   20. After his/her arrest, the CS gave consent for Tennessee agents to search his

cellphone and retrieve the current telephone number for CAMBEROS (404-914-1445,

hereinafter “the 1445 number”) and their text history referencing their previous

meetups dating back to on or around July 28, 2021. During his/her initial debrief,

the CS told agents that he/she usually would contact CAMBEROS 1-2 days in

advance of traveling to Atlanta to let CAMBEROS know that he/she was ready to

meet. Also, the CS advised agents that he/she would let CAMBEROS know when

he/she was on the way from KY, and then usually, when he/she was 30 minutes

from either the shop or the house. Agents were able to corroborate this information

based on the numerous text messages found in the CS’ cellphone. For example, on

September 12, 2021 at approximately 12:30 p.m., the CS sent a text message to


                                           10
               Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 12 of 15




CAMBEROS that said “Tomorrow”, to which CAMBEROS responded with a

thumbs up emoji. The next day, at approximately 8:57 a.m., the CS sent a text

message to CAMBEROS that said “Omw” to which CAMBEROS responded with a

thumbs up emoji. At approximately 1:35 p.m., the CS sent a text message that said

“30” to which CAMBEROS responded “Okay”; shortly thereafter, the CS sent

another text message that said “Here”.

                  a. Based on my training, experience, and knowledge of this

                      investigation, I believe 2 that the CS reached out to CAMBEROS on

                      September 12, 2021, to let him know that he/she would be traveling

                      to Atlanta, GA the next day to pick up drugs. CAMBEROS

                      acknowledged this text message. The next day the CS contacted

                      CAMBEROS when he/she was on the way to Atlanta (“Omw”),

                      when he/she was 30 minutes away from the house (“30”), and when

                      he/she had arrived at the house (“Here”).

   21. On September 18, 2021, the CS sent a text message to CAMBEROS to share

his/her new phone number. CAMBEROS acknowledged the CS with a text message

from the 1445 number and said “Ok”.

   22. On October 5, 2021, DEA Atlanta members conducted surveillance on

CAMBEROS. At approximately 8:50 a.m., agents observed him leave his house and



       2   In this affidavit, where I state, “I believe,” I am basing that belief on my training, experience, and
   knowledge, including of this investigation.

                                                           11
          Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 13 of 15




drive directly to O&J Mechanic & Body Shop. During surveillance, agents were able

to capture photos of CAMBEROS which were sent to the CS. The CS confirmed that

the individual in the photo was the same individual from whom he bought 10

kilograms of methamphetamine on September 13, 2021.

   23. On the same day at approximately 11:10 a.m., the CS, at the direction of

agents, sent a text message to CAMBEROS that said, “Yo yo!”. CAMBEROS

responded by text message, using the 1445 number, and said “Yo” followed by

“Ready?”. The CS responded with a text message that said, “10”. CAMBEROS

acknowledged and said “Ok” followed “Tomorrow?” to which the CS responded

with a message that said, “Getting money together now, but for sure Thursday!”

CAMBEROS acknowledged with “Ok”. The CS sent another text message that said,

“Price go down or still 40?” and CAMBEROS responded with “40”.

            a. I believe that, in this conversation, the CS texted CAMBEROS to say

               he/she was ready to travel to Atlanta, GA to pick up 10 kilograms of

               methamphetamine. CAMBEROS asked the CS if he/she would be

               ready to pick up tomorrow, to which the CS responded to

               CAMBEROS that he/she would be ready on Thursday. Lastly, the

               CS asked CAMBEROS if the total price for the 10 kilograms had

               decreased since their last meeting or was it still $40,000. CAMBEROS

               confirmed that it would be $40,000 for 10 kilograms.




                                           12
          Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 14 of 15




   24. On October 7, 2021, DEA Atlanta agents conducted mobile surveillance on

CAMBEROS starting at approximately 7:30 a.m.

   25. At approximately 8:00 a.m., the CS sent a text to CAMBEROS that said “On

my way!” and CAMBEROS replied with a thumbs up emoji. At approximately 12:25

p.m., the CS sent a text message to CAMBEROS that said “30away” and

CAMBEROS replied, with a thumbs up emoji.

   26. Surveillance was maintained on CAMBEROS all day until he arrived back at

his house at approximately 1:30 p.m.

   27. On October 7, 2021, at approximately 2:00 p.m., agents executed a federal

search warrant at 6392 Stoneridge Court, Riverdale, GA 30274, CAMBEROS’ house.

Agents found 10 kilograms of methamphetamine inside of a brown box with the

number “10” written on the top in red ink on the backseat of a Gold Hummer H2, a

vehicle known to be driven by CAMBEROS, that was parked in the driveway to the

house. Additionally, agents found bulk United States Currency inside of two

different locked safes; one upstairs in the master bedroom and one downstairs

hidden inside a utility closest behind a hot water heater. Agents also found three

rifles and one handgun inside a safe in the master bedroom of the house. Another

handgun was found inside a Polaris Slingshot, which was parked in the driveway of

the residence.

   28. Simultaneously, agents, maintaining visual surveillance of CAMBEROS’

house, observed CAMBEROS exit the residence in a blue shirt and blue pants and


                                           13
           Case 1:22-cr-00002-SDG Document 1 Filed 10/08/21 Page 15 of 15




begin walking down the street toward his vehicles. Shortly after, CAMBEROS was

confronted by agents and detained.

   29. CAMBEROS was read Miranda warnings in Spanish, his native language,

from a written form (DEA-13). CAMBEROS acknowledged that he understood his

rights and agreed to speak with agents at approximately 2:09 p.m.

   30. CAMBEROS advised agents that he was waiting for a customer to meet him

from Kentucky to purchase the 10 kilograms of methamphetamine for $40,000.00.

CAMBEROS advised agents that his friend “Beto” dropped off the drugs yesterday

afternoon and placed them inside of the Hummer vehicle that was parked in the

driveway of CAMBEROS’ house and that CAMBEROS was supposed to contact

“Beto” when the money was ready to be picked up.

                                     CONCLUSION

   31. Based upon the aforementioned facts, I assert there is probable cause to

believe that on or about October 7, 2021, in the Northern District of Georgia,

CAMBEROS did knowingly and intentionally possess with the intent to distribute

approximately ten kilograms of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a) and

841(b)(1)(A).



                                   END OF AFFIDAVIT



                                            14
